                                         Docket
Docket Name                              No.       Assigned Judge      Counsel                                 Plaintiff’s Position
                                                                       Plain�ﬀ: Michael Schwartz, Jonathan
                                                                       J. James
                                                                       Defendants: Mathew Kevin
                                                                       Hubbard, Adam Zurbriggen, Jeﬀrey        Plaintiff agrees to the limited
Carobine v. City of Phila. et al.        11-4471   Wendy Beetlestone   M. Scot                                 consolidation.
                                                                       Plain�ﬀ: L. Kenneth Cho�ner, Steven
                                                                       Schatz
                                                                       Defendants: Kathryn Faris, Jeffrey M.
Tien v. City of Phila. et al.            13-0705   Timothy J. Savage   Scott                                    Plaintiff objects to the consolidation.
                                                                                                               Plaintiff’s counsel is no longer
                                                                                                               practicing and Plaintiff has not yet
                                                                                                               responded to outreach by the Court
                                                                       Plaintiff: unrepresented                regarding his intent to proceed.
                                                                       Defendants: Kathryn Faris, John P.      Outreach was not attempted because
                                                                       Gonzales, Joseph J. Santarone, Jr.,     Plaintiff’s current address is
Sarson v. City of Phila. et al.          13-4357   Gerald A. McHugh    Nicholas A. Cummins                     unknown.
                                                                       Plain�ﬀ: Michael Schwartz, Jonathan
                                                                       J. James
                                                                       Defendants: Kathryn Faris, Jeﬀrey M.
                                                                       Scot, John P. Gonzales, Joseph J.       Plaintiff agrees to the limited
Gilliam v. City of Phila. et al.         13-5128   Gerald A. McHugh    Santarone, Jr., Nicholas A. Cummins     consolidation.
                                                                       Plain�ﬀ: Margaret Boyce Furey
                                                                       Defendants: Kathryn Faris; Jeffrey
Jeﬀerson v. City of Phila. et al.        14-2238   Paul S. Diamond     Walker, pro se.                         Plaintiff objects to consolidation.
                                                                       Plain�ﬀ: Margaret Boyce Furey
                                                                       Defendants: Kathryn Faris; Anne
Mills v. City of Phila. et al.           14-593    Chad F. Kenney      Taylor; Jeffrey Walker, pro se          Plaintiff objects to consolidation.
                                                                       Plain�ﬀ: Margaret Boyce Furey
                                                   Nitz I. Quinones    Defendants: Kathryn Faris; Jeﬀrey
Murray v. City of Phila. et al.          14-5934   Alejandro           Walker, pro se                          Plaintiff objects to consolidation.
                                                                       Plain�ﬀs: David Wesley Cornish
                                                                       Defendants: John P. Gonzales,           Plaintiffs’ counsel has no objection to
                                                   Nitz I. Quinones    Joseph J. Santarone, Jr.; Kathryn       the limited stay for discovery
DelVila, et al. v. Liciardello, et al.   15-2521   Alejandro           Faris; Nicholas Cummins                 purposes only.
                                                                    Plain�ﬀ: Pro se
                                                                    Defendants: Anne Taylor; John P.
Colon v. Philadelphia Police Dept.,                                 Gonzales; Joseph J. Santarone, Jr.;    Plaintiff has not responded to
et al.                                15-3669   John M. Younge      Nicholas Cummins                       outreach regarding consolidation.
                                                                    Plain�ﬀ: Margaret Boyce Furey
                                                                    Defendants: Adam Zurbriggen,
Warlow v. City of Phila., et al.      15-4222   Paul S. Diamond     Jeffrey Walker, pro se                 Plaintiff objects to consolidation.
                                                                    Plain�ﬀ: Margaret Boyce Furey
                                                                    Defendants: Adam Zurbriggen,
Summers v. City of Phila., et al.     15-4224   John F. Murphy      Jeﬀrey Walker, pro se                  Plaintiff objects to consolidation.
                                                                                                           Plaintiffs’ counsel has no objection to
                                                                    Plain�ﬀs: Evan S. Shingles             the limited stay for discovery
Cascioli v. City of Phila., et al     15-5957   John M. Younge      Defendant: Anne Taylor                 purposes only.
                                                                    Plain�ﬀ: David Cornish
                                                                    Defendants: Adam Zurbriggen;           Plaintiffs’ counsel has no objection to
                                                                    Nicholas Cummins; Joseph J.            the limited stay for discovery
Hill v. Reynolds, et al.              15-6060   Joel H. Slomsky     Santarone, Jr; John P. Gonzalez        purposes only.
                                                                    Plaintiff: Michael T. Vanderveen        Plaintiff has not responded to
Autry v. City of Phila., et al.       15-6565   John F. Murphy      Defendants: Adam Zurbriggen            outreach regarding consolidation.
                                                                    Plain�ﬀ: David Cornish
                                                                    Defendants: Kathryn Faris; Nicholas
                                                                    Cummins; Joseph J. Santarone, Jr;      Plaintiffs’ counsel has no objection to
                                                Nitza I. Quinones   John P. Gonzalez; Jeﬀrey Walker, pro   the limited stay for discovery
Brame v. Reynolds, et al.             16-1031   Alejandro           se                                     purposes only.
                                                                    Plain�ﬀ: Michael Pileggi
                                                                    Defendants: Anne Taylor; Kathryn
                                                Nitza I. Quinones   Faris; John P. Gonzales; Joseph J.     Plaintiff takes no position on the
Graves v. City of Phila., et al.      16-5133   Alejandro           Santarone, Jr.                         request for consolidation.
                                                                    Plain�ﬀ: Margaret Boyce Furey
                                                                    Defendants: Anne Taylor; Joseph J.
                                                                    Santarone, Jr; Nicholas Cummins;
Phillips v. City of Phila., et al.    16-609    Michael M Baylson   Jeﬀrey Walker, pro se                  Plaintiff objects to consolidation.
                                                                                                           Plaintiff’s address on the docket is
                                                                    Plain�ﬀ: Pro se,                       not accurate and he cannot be found
                                                                    Defendants: John P. Gonzalez,          via the online inmate locator
Lomax v. Speiser, et al.              16-6367   Joel H. Slomsky     Joseph J. Santarone, Jr.               functions.
                                                                                                           Plaintiff’s address on the docket is
                                                                                                           not accurate and he cannot be found
                                                                   Plain�ﬀ: Pro se                         via the online inmate locator
Novalez v. Reynolds                  17-1128   Chad F. Kenney      Defendants: Not served                  functions.
                                                                   Plain�ﬀ: Michael Schwartz, Jonathan
                                                                   J. James                                Plaintiff agrees to the limited
Streeper v. City of Phila., et al.   17-787    Michael M Baylson   Defendant: Anne Taylor                  consolidation.
                                                                   Plain�ﬀ: L. Kenneth Cho�ner
                                                                   Defendants: Anne Taylor; John P.
                                                                   Gonzales; Joseph J. Santarone, Jr.;
                                                                   Nicholas Cummins; Jeﬀrey Walker,
McGhee v. City of Phila., et al.     17-832    Michael M Baylson   pro se                                  Plaintiff objects to consolidation.
                                                                   Plain�ﬀ: unknown                        Outreach was not attempted because
                                                                   Defendants: Kathryn Faris, Joseph P.    Plaintiff’s current address is
Kang v. City of Phila., et al.       18-1418   Timothy J. Savage   Santarone, Jr., John P. Gonzales        unknown.
                                                                   Plain�ﬀ: Frederick Charles, James J.
                                                                   Burke
                                                                   Defendants: Adam Zurbriggen;
                                                                   Nicholas Cummins; John P. Gonzales;      Plaintiff agrees to the limited
Miller v. City of Phila., et al.     18-1443   Gerald J. Pappert   Joseph J. Santarone, Jr.                consolidation.
                                                                   Plain�ﬀ: Jordan Strokovsky
                                                                   Defendants: Kathryn Faris, Joseph P.    Plaintiff agrees to the limited
McConnell v. C�y of Phila., et al.   18-2557   Gerald A. McHugh    Santarone, Jr.                          consolidation.
                                                                   Plain�ﬀ: Theodore Levy
                                                                   Defendants: Adam Zurbriggen,
                                                                   Joseph J. Santarone, Jr., John P.
Gordon v. Liciardello, et al.        19-3761   Gerald J. Pappert   Gonzales                                Plaintiff objects to consolidation.
                                                                   Plain�ﬀ: L. Kenneth Cho�ner
                                                                   Defendants: Adam Zurbriggen, John
                                                                   P. Gonzales, Joseph J. Santarone, Jr.
Sample v. City of Phila., et al.     19-51     Gerald J. Pappert   Nicholas A. Cummins                     Plaintiff objects to consolidation.
                                                                   Plain�ﬀs: Alan Denenberg, Vazken
                                                                   Zerounian, Jason E. Parris
                                                                   Defendants: John P. Gonzales,           Plaintiffs do not oppose consolidation
Sharpe v. Spicer, et al.             19-983    Michael M Baylson   Joseph J. Santarone, Anne Taylor        for discovery purposes.
Harris v. City of Phila., et al.     20-1350   Timothy J. Savage   Plain�ﬀ: L. Kenneth Cho�ner             Plaintiff objects to consolidation.
                                                                   Defendants: Kathryn Faris, John P.
                                                                   Gonzales, Joseph J. Santarone, Jr.,
                                                                   Nicholas Cummins, Jeﬀrey Walker,
                                                                   pro se
                                                                                                          Plaintiff does not oppose
                                                                                                          consolidation for discovery purposes.
                                                                                                          If consolidation is granted, Plaintiff
                                                                   Plain�ﬀ: James Wells                   objects to the City’s staging proposal
                                                                   Defendants: Kathryn Faris, Jeﬀrey      and would like to be heard by the
Brown v. Walker, et al.             20-2681   Paul S. Diamond      Walker, pro se                         assigned Magistrate Judge.
                                                                   Plain�ﬀ: Thomas Sweeney
                                                                   Defendants: Kathryn Faris, John P.     Plaintiff agrees to the limited
Ramos v. City of Phila., et al.     21-4255   Harvey Bartle, III   Gonzales, Joseph J. Santarone, Jr.     consolidation.
                                                                   Plain�ﬀ: pro se                        Plaintiff has not responded to
Percha v. Spicer, et al.            21-5011   Joseph F. Lesson     Defendant: Kathryn Faris               outreach regarding consolidation.
                                                                   Plain�ﬀ: Jonathan J. James
                                                                   Defendant: Kathryn Faris, Nicholas
                                                                   Cummins, John P. Gonzales, Joseph J.   Plaintiff agrees to the limited
McCrorey v. City of Phila, et al.   22-2360   Harvey Bartle, III   Santarone, Jr.                         consolidation.
                                                                   Plain�ﬀ: Andre Dover, Arsen
                                                                   Kashkashian, Jr.
                                                                   Defendant: Kathryn Faris, Adam         Plaintiff agrees to the limited
Cobb v. City of Phila, et al.       22-74     Juan R. Sanchez      Zurbriggen                             consolidation.
                                                                   Plain�ﬀ: Pro Se                        Plaintiff has not responded to
Dillard v. City of Phila, et al.    22-941    Chad F. Kenney       Defendants: Kathryn Faris              outreach regarding consolidation.
